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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
 RAHUL MANCHANDA,                                              :
                                              Plaintiff,       :
                                                               :       19 Civ. 5121 (LGS)
                            -against-                          :
                                                               :            ORDER
 EDUCATIONAL CREDIT MANAGEMENT                                 :
 CORPORATION,                                                  :
                                              Defendant. :
                                                               :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, this case has been assigned to me for all purposes. It is hereby

        ORDERED that counsel review and comply with the Court’s Individual Rules and

Procedures (“Individual Rules”) (available at the Court’s website,

http://nysd.uscourts.gov/judge/Schofield). It is further

        ORDERED that counsel for all parties file on ECF a joint letter with the Court no later

than August 17, 2018, appending the most recent scheduling order, if any, to the status letter.

The status letter should not exceed 5 pages, and should provide the following information in

separate paragraphs:

        1. A brief statement of the nature of the case, the principal claims and defenses, and the

             major legal and factual issues that are most important to resolving the case, whether

             by trial, settlement or dispositive motion;

        2. A brief statement by plaintiff as to the basis of subject matter jurisdiction and venue,

             and a brief statement by each other party as to the presence or absence of subject

             matter jurisdiction and venue. Statements shall include citations to relevant statutes.
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           In addition, in cases for which subject matter jurisdiction is founded on diversity of

           citizenship, the parties shall comply with the Court’s Individual Rule IV.A.3;

       3. A brief description of any (i) motions that have been made and decided, (ii) motions

           that any party seeks or intends to file, including the principal legal and other grounds

           in support of and opposition to the motion, (iii) pending motions and (iv) other

           applications that are expected to be made at the status conference;

       4. A brief description of any discovery that has already taken place, and any discovery

           that remains;

       5. A computation of each category of damages claimed, see Fed. R. Civ. P.

           26(a)(1)(A)(iii);

       6. A statement of procedural posture and upcoming deadlines;

       7. A statement describing the status of any settlement discussions and whether the

           parties would like a settlement conference; and

       8. Any other information that the parties believe may assist this Court in resolving the

           action.

       Unless ordered otherwise by the Court, the parties should presume that any Scheduling

Order or Case Management Plan remains in effect notwithstanding the case’s transfer. Any

request for an extension or adjournment shall be made by letter as provided in Individual Rules

I.B.2 and must be received at least 48 hours before the deadline or conference.

Dated: August 3, 2021
       New York, New York




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